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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

United States of America,
Case:3:18-me-51221
Judge: Cleland, Robert H.

Plainuff, Mu: Stafford, Elizabeth A.
Filed: 08-20-2018 At 02:30 PM
v. IN RE MARVIN TIEN, MOTION TO QUASH
SUBPOENA (NA)
Gayle Hassan Al-Said, Grand

Defendant.

MOTION TO QUASH DEFENDANT’S SUBPOENA OF OUT-OF-STATE "
WITNESS TO TESTIFY AT TRIAL, INCLUDING BRIEF IN SUPPORT

MOTION

Non-party, Marvin Tien, by and through his attorneys, Clark Hill PLC, states
as follows in support of his Motion to Quash Defendant’s Subpoena of Out-of-
State Witness to Testify at Trial:
1, Movant and non-party Marvin Tien (“Mr. Tien”) is a resident of the
State of California, where he is employed and regularly transacts his business.
2. Mr. Tien is currently outside of the United States on a business trip to
Asia involving a series of previously scheduled meetings over a period of the next

two weeks and will not return home to California until at least August 31, 2018 or

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September 1, 2018. (See Marvin Tien’s Declaration in support of this motion,
Exhibit 2, { 3).

3. Mr. Tien has never met the named defendant in this case, Gayle
Hassan Al-Said (“Defendant”). (/d., §| 4).

4, Although Mr. Tien was out of the country on a business trip and has
not been personally served with the subpoena or any check for any attendance fee
or mileage allowance, he understands that a Subpoena to Testify at a Hearing or
Trial in a Criminal Case (the “Subpoena”) was issued in this case on August 2,
2018, commanding him to appear in the United States District Court for the
Eastern District of Michigan in Port Huron, Michigan, on August 21, 2018. Ud. , §
2).

5. Mr. Tien has never been employed or otherwise retained by
Defendant, although he has a vague recollection that he did some consulting work
for a gentleman who had some calls with Defendant many years ago, and he may
have been on a couple of those calls. Ud. , 4 5).

6. Mr. Tien has never received any communications from Defendant
regarding this case. Ud. , 4 6).

7. Mr. Tien has never met with or received any communications
regarding this matter from James Howarth, the listed attorney for Defendant, or

anyone else on his or Defendant’s behalf. (ld, § 7).

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8. Mr. Tien does not believe that he has any information relevant to any
criminal claims brought against Defendant, and it would be unreasonable and
oppressive to require Mr. Tien to travel to the State of Michigan. (/d. , ¥ 8).

9. Federal Rule of Criminal Procedure 17(d) requires that a subpoena be
personally served with an accompanying payment for an attendance fee and
mileage allowance.

10. Federal Rule of Criminal Procedure 17(c) provides that a subpoena
may be quashed or modified if compliance would be “unreasonable or oppressive.”

11. It is appropriate to quash the Subpoena as the Subpoena was never
personally served on Mr. Tien and it would be unreasonable and oppressive under
the circumstances presented to compel Mr. Tien to appear in this Court in the State
of Michigan where Mr. Tien both resides and regularly works in the State of
California, is currently out of the country on business, will continue to be out of the
country on business on the date the Subpoena seeks to compel Mr. Tien to appear
in this Court in the State of Michigan, and it would impose both undue costs and an
undue burden on Mr. Tien to require him to disrupt his personal and business life
to travel to the State of Michigan to comply with the Subpoena.

12. Mr. Tien’s attorneys attempted to contact Defendant’s attorney, James
Howarth, via telephone to explain the nature of the relief sought in this motion and

its legal basis and to seek concurrence on or about August 13, 2018 and again on

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August 19, 2018, but, despite those reasonable efforts, they were unable to contact
Mr. Howarth or conduct a conference.
WHEREFORE, Mr. Tien requests that this Court grant his Motion to Quash
Defendant’s Subpoena of Out-of-State Witness To Testify at Trial and enter an
order pursuant to the form attached hereto as Exhibit 1, and that the Court grant

Mr. Tien such further relief as the Court deems just and proper.

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BRIEF IN SUPPORT OF MOTION TO QUASH DEFENDANT'S
SUBPOENA OF OUT-OF-STATE WITNESS TO TESTIFY AT TRIAL

FACTUAL BACKGROUND

Movant and non-party Marvin Tien (“Mr. Tien”) is a resident of the State of
California, where he is employed and regularly conducts business. Mr. Tien is
currently outside of the United States on a previously planned business trip to Asia,
from which trip he is not scheduled to return to California until at least the very
end of August or early September.

Mr. Tien has never met with or been employed by Defendant Gayle Hassan
Al-Said (“Defendant”). (Exhibit 1, 9] 4 and 5). Neither Defendant nor her
attorney, James Howarth, has had any contact with Mr. Tien in an effort to obtain
discovery regarding the above-captioned case. (/d., | 6 and 7). Nevertheless,
Defendant’s attorney had a subpoena (the “Subpoena”) issued on August 2, 2018,
purporting to compel Mr. Tien to appear in this Court in Port Huron, Michigan, to
testify at trial on August 21, 2018. Mr. Tien has not been personally served with
the Subpoena or any check for any attendance fee or mileage allowance. (/d., § 2).

Because the Subpoena has not been personally served upon Mr. Tien, and
because the Subpoena purporting to compe! Mr. Tien to return to the United States

and travel across the country from the State of California to the State of Michigan

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despite his lack of relevant knowledge or information is unreasonable and

oppressive, it should be squashed.

CONTROLLING AUTHORITY

The issuance and enforcement of subpoenas in criminal cases is governed

under Federal Rule of Criminal Procedure 17. That rule requires that a subpoena

be personally served.

(d) Service. A marshal, a deputy marshal, or any
nonparty who is at least 18 years old may serve a
subpoena. The server must deliver a copy of the
subpoena to the witness and must tender to the witness
one day’s witness-attendance fee and the legal mileage
allowance. The server need not tender the attendance fee
or mileage allowance when the United States, a federal
officer, or a federal agency has requested the subpoena.

Fed. R. Crim. P. 17(d).
The rule also authorizes a court to quash or modify a subpoena if comphance
would be unreasonable or oppressive.
(2) Quashing or Modifving the Subpoena. On motion
made promptly, the court may quash or modify the
subpoena if compliance would be unreasonable or
oppressive.

Fed. R. Crim. P. 17(c)(2).

ARGUMENT

l. The Subpoena Should be Squashed Because it
Has Not Been Personally Served.

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Rule 17(d) requires that a subpoena and accompanying payment be
personally served in order to be enforceable. “The server must deliver a copy of
the subpoena to the witness and must tender to the witness one day’s witness-
attendance fee and the legal mileage aliowance.” Fed. R. Crim. P. 17(d). Cf

United States v. Venecia, 172 F.R.D. 438, 439 (D. Or. 1997)\(granting motion to

squash subpoena because Rule 17(d) does not authorize service by facsimile).

The Subpoena in this case is invalid because it has not been personally served upon
Mr. Tien, who was out of the country in Asia. (Exhibit 1, 42). Further, Mr. Tien
was never personally served with the required witness attendance fee and legal
mileage allowance. (/d.). Because the Subpoena has never been properly served
as required, it is unenforceable and should be quashed.

IL. The Subpoena Should be Squashed Because it
Is Unreasonable and Oppressive.

Even ifthe Subpoena had been properly and personally served upon Mr.
Tien with the required payment, it should nevertheless be squashed under Fed. R.
Crim. P. 17{c)(2) as unreasonable and oppressive under the following
circumstances:

l. Mr. Tien is a resident of the State of California, where he

is employed and regularly conducts business. (Exhibit 1, { 1).

2. Mr. Tien is currently outside of the United States on a

business trip to Asia involving a series of previously scheduled
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meetings and will not return home to California until at least
August 31, 2018 or September 1, 2018. Ud., 43).

3. Mr. Tien has never met Defendant. (/d., 4 4).

4, Mr. Tien has never been employed or otherwise retained
by Defendant, although he has a vague recolJection that he did
some consulting work for a gentleman who had some calls with
Defendant many years ago, and he may have been on a couple
of those calls. (/d., 4] 5).

5. Mr. Tien has never received any communications from
Defendant regarding this case. (/d., | 6).

6. Mr. Tien has never met with or received any
communications regarding this matter from James Howarth, the
listed attorney for Defendant, or anyone else on his or
Defendant’s behalf. U/d., { 7).

7. Mr. Tien does not believe that he has any information
relevant to any criminal claims brought against Defendant, and
it would be unreasonable and oppressive to require Mr. Tien to

travel to the State of Michigan. (/d., 4 8).

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It would be unreasonable and oppressive to require a resident of California
who is out of the country and has no knowledge of relevant information to this case
lo return to the United States and travel to Michigan to appear to testify. That is
particularly true in this case where neither Defendant nor her attorney has made

any attempt to contact Mr. Tien to determine whether he has any relevant

information or to obtain discovery from him. Accordingly, the Subpoena should

be squashed,

CONCLUSION

WHEREFORE, Mr. Tien requests that this Court grant his Motion to Quash
Defendant’s Subpoena of Out-of-State Witness To Testify at Trial and enter an
order pursuant to the form attached hereto as Exhibit 1, and that the Court grant

Mr. Tien such further relief as the Court deems just and proper.

Respectfully submitted,

CLARK HILL PLC

By: /s/ Matthew W. Schlegel
Matthew W. Schlegel] (P36963)
Attorneys for Marvin Tien
500 Woodward Avenue, Suite 3500
Detroit, MI 48226
(313) 965-8300
(313) 965-8252 — fax
mschlegel@clarkhill.com

Date: August 20, 2018

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN

SGUTHERN DIVISION
United States of America, Case No. 2:15-cr-20339
Plaintiff, Hon. Robert H. Cleland

v. Magistrate Judge David R.

Gayle Hassan Al-Said, Grand

Defendant.

CERTIFICATE OF SERVICE

I, Jacqueline Nicholson, hereby certify that on August 20, 2018, I
electronically filed the Motion to Quash Defendant’s Subpoena of Out-of-State
Witness to Testify at Trial, Including Brief in Support with the Clerk of the Court
using the ECF system which will send notification of such filing to all counsel of
record.

_fs/Jacqueline Nicholson
Clark Hill PLC
500 Woodward Avenue, Suite 3500
Detroit, MI] 48226
(313) 309-9485
(313) 965-8252 — fax

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION
United States of America, Case No. 2:1 5-cr-20339
Plaintiff, Hon. Robert TH. Cleland

v Magistrate Judge David R.

Gayle Hassan Al-Said, Grand

Defendant.

Index of Exhibits

I. Order Quashing Defendant's Subpoena of Out-of-State Witness to
Testify at Trial

to

Declaration in Support of Motion to Quash Defendant’s Subpoena of
Out-of-State Witness to Testify at Trial

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EXHIBIT 1

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION
United States of America, Case No. 2:15-er-20339
Plaintiff, Hon. Robert H. Cleland
Magistrate Judge David R.
Gayle Hassan Al]-said, Grand

Defendant.

ORDER QUASHING DEFENDANT’S SUBPOENA OF OUT-OF-STATE
WITNESS TO TESTIFY AT TRIAL

The Court having reviewed non-party Marvin Tien’s Motion to Quash
Defendant’s Subpoena of Out-of-State Witness To Testify at Trial, and the Court
being further advised herein;

IT IS ORDERED that the motion is granted, that the subpoena issued at
Defendant’s request for Marvin Tien to appear to testify for trial in this case on
August 21, 2018 is quashed, and that Marvin Tien need not appear to testify in this

case in the State of Michigan.

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EXHIBIT 2

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

United States of America, Case No. 2:15-cr-20339
Plaintiff, Hon. Robert H. Cleland
“ . Magistrate Judge David R.
Gayle Hassan Al-Said, Grand
Defendant.
/

DECLARATION IN SUPPORT OF MOTION TO QUASH DEFENDANT’S
SUBPOENA OF OUT-OF STATE WITNESS TO TESTIFY AT TRIAL

Marvin Tien states as follows:

1. Tama resident of the State of California, where I am employed and regularly

conduct business.

2. Although I was out of the country on a business trip and have not been
personally served with the subpoena or any check for any attendance fee or
mileage allowance, I understand that a Subpoena to Testify at a Hearing or
Trial in a Criminal Case (the “Subpoena”) was issued in the above-captioned

case on August 2, 2018, commanding me to appear in the United States
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District Court for the Eastern District of Michigan in Port Huron, Michigan,
on August 21, 2018.

3. I am currently on a business trip to Asia involving a series of previously
scheduled meetings over a period of the next two weeks and will not return
home to California until at least August 31, 2018 or September 1, 2018.

4. T have never met the named defendant in this case, Gayle Hassan Al-Said
(“Defendant”).

5. ] have never been employed or otherwise retained by Defendant, although I
have a vague recollection that I did some consulting work for a gentleman
who had some calls with Defendant many years ago, and I may have been on
a couple of those calls.

6. I have never received any communications from Defendant regarding this
case.

7. 1 have never met with or received any communications regarding this matter
from James Howarth, the listed attorney for the Defendant, or anyone else
on his or Defendant’s behalf.

8. 1 do not believe that I have any information relevant to any criminal claims
brought against Defendant, and it would be unreasonable and oppressive to
required me to travel to the State of Michigan.

I declare under penalty of perjury under the laws of the United States of America

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that the foregoing is true and correct. Executed on August 19, 2018.

Pf sf eo?
bi hl hoo,

Marvin Tien

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